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                                                          1        I.     GROUNDS FOR REMOVAL – DIVERSITY JURISDICTION.
                                                          2          1.     Cynosure is entitled to remove the state court action to this Court
                                                          3   pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, because this action is a civil action
                                                          4   involving an amount in controversy exceeding $75,000.00, between parties with
                                                          5   complete diversity of citizenship. 28 U.S.C. § 1332(a) (providing that district
                                                          6   courts have original jurisdiction where the matter in controversy: (1) exceeds the
                                                          7   sum of $75,000.00, exclusive of costs and interest; and (2) is between citizens of
                                                          8   different states).
                                                          9                                     II.    PLEADINGS.
                                                        10           2.     Plaintiffs Stuart A. Linder, M.D., and Stuart A. Linder, M.D., Inc.
                                                        11    (“Linder, Inc.”) bring this Action against Cynosure arising out of plaintiffs’
                                                        12    purchase of a Smartlipo Triplex Laser Body Sculpting and Cellulaze Cellulite
                    633 West Fifth Street, 52nd Floor




                                                        13    Laser Workstation (“the Equipment”) from Cynosure. See Complaint, ¶ 7.
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                                                        14    Plaintiffs allege that the Equipment cost $190,500.00, plus sales tax for a total of
                                                        15    $207,168.75. Id., ¶ 8. Dr. Linder is a plastic surgeon and the Equipment was to be
                                                        16    used in his practice. Id., ¶ 1; see id., ¶ 7.
                                                        17           3.     Plaintiffs allege that when Dr. Linder first used the Equipment, it
                                                        18    injured a patient. Id., ¶ 7. Plaintiffs bring 16 separate claims against Cynosure,
                                                        19    including fraud, conversion, rescission and restitution, product liability – strict
                                                        20    liability and breach of express warranty. See Complaint, p. 1 (listing all 16
                                                        21    purported claims). There are no other named defendants in the Action.
                                                        22           4.     Plaintiffs commenced the Action against Cynosure by filing the
                                                        23    Complaint in the Los Angeles County Superior Court, on July 15, 2013. Id., p. 1
                                                        24    (stamped with conformed copy filing stamp). Plaintiffs served Cynosure with the
                                                        25    Summons and Complaint on August 27, 2013. See Summons directed to
                                                        26    Cynosure, attached as part of Exhibit 1. In addition to Cynosure, plaintiffs
                                                        27    erroneously named Cynosure, Inc. Which Will Do Business In California As New
                                                        28    England Cynosure, Inc. (“New England Cynosure, Inc.”) as a separate defendant.

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                                                          1   But New England Cynosure, Inc. is not a distinct or currently operating entity;
                                                          2   rather, it appears to have been registered in California as a fictitious business name
                                                          3   for Cynosure, Inc. Declaration of Timothy W. Baker (“Baker Decl.”), ¶ 4.
                                                          4   III.   THE REQUIREMENTS OF DIVERSITY JURISDICTION ARE MET.
                                                          5   A.     There is Complete Diversity of Citizenship.
                                                          6          5.    This is an action between parties with complete diversity of
                                                          7   citizenship. Diversity of citizenship exists where the matter in controversy is
                                                          8   between citizens of different states. 28 U.S.C. §1332(a). A corporation for
                                                          9   purposes of 28 U.S.C. § 1332(a) is considered a citizen of any state in which it is
                                                        10    incorporated and in which it has its principal place of business. 28 U.S.C.
                                                        11    §1332(c).
                                                        12           6.    As pleaded in the complaint, one of the two plaintiffs, Dr. Linder, is a
                    633 West Fifth Street, 52nd Floor




                                                        13    resident of Beverly Hills, California. Complaint, ¶ 1. Plaintiffs also plead that
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                                                        14    Linder, Inc., the other plaintiff, is a corporation that conducts business in the State
                                                        15    of California with a principal place of business in Beverly Hills, California. Id.,
                                                        16    ¶ 2.
                                                        17           7.    Cynosure is a Delaware corporation with its principal place of
                                                        18    business located in Westford, Massachusetts; plaintiffs plead this in their complaint
                                                        19    as well. Id., ¶ 3; see also Baker Decl., ¶ 3. The corporate headquarters for
                                                        20    Cynosure is located in Westford, Massachusetts, where the company’s officers
                                                        21    direct, control, and coordinate Cynosure’s activities. Baker Decl., ¶ 3; see, e.g.,
                                                        22    Hertz Corp. v. Friend, 559 U.S. 77, 80-81, 130 S. Ct. 1181, 1186 (2010) (holding
                                                        23    “the phrase ‘principal place of business’ refers to the place where the corporation’s
                                                        24    high level officers direct, control, and coordinate the corporation’s activities”).
                                                        25           8.    Although plaintiffs also has named additional, fictitious “Doe”
                                                        26    defendants, this does not preclude the court from exercising diversity jurisdiction.
                                                        27    Where, as here, a complaint does not give any indication of who the “Doe”
                                                        28    defendants might be or how their activities might have given rise to the causes of

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                                                          1   action, they are not considered for purposes of determining diversity. See 28
                                                          2   U.S.C. § 1441(a); Bogan v. Keene Corp., 852 F. 2d 1238, 1240 (9th Cir. 2004).
                                                          3         9.     No change in the citizenship of the defendants has occurred since the
                                                          4   commencement of the state court action. Thus, all plaintiffs are of a different
                                                          5   citizenship than all defendants; accordingly, complete diversity of citizenship
                                                          6   exists, and the first prong of 28 U.S.C. § 1332(a) is satisfied.
                                                          7   B.    The Amount in Controversy Exceeds $75,000.
                                                          8         10.    Under 28 U.S.C. § 1332(a), district courts have original jurisdiction
                                                          9   where the matter in controversy exceeds the sum of $75,000.00, exclusive of costs
                                                        10    and interest. Guglielmino v. McKee Foods Corp., 506 F.3d 696, 700 (9th Cir.
                                                        11    2007). The amount in controversy is determined from the allegations or prayer of
                                                        12    the complaint. See St. Paul Mercury Indem. Co. v. Red Cab Co., 303 U.S. 283,
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                                                        13    289, 58 S.Ct. 586, 590 (1938).
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                                                        14          11.    Here, plaintiffs allege in the complaint that they purchased the
                                                        15    Equipment from Cynosure for a price of $190,500.00, plus sales tax for a total of
                                                        16    $207,168.75. Complaint, ¶ 8. Plaintiffs bring a claim for conversion in which they
                                                        17    allege that Cynosure “wrongfully took dominion over Plaintiffs [sic]
                                                        18    aforementioned funds used to purchase the Equipment” and demand return of those
                                                        19    funds. Id., ¶ 32. Plaintiffs also seek an award of punitive damages and additional
                                                        20    damages for emotional distress suffered by Dr. Linder as a result of the alleged
                                                        21    conversion. Id., ¶¶ 33-34. Plaintiffs also bring a claim for rescission and
                                                        22    restitution in which they seek restitution of the funds used to purchase the
                                                        23    Equipment. Id., ¶¶ 39-43. And plaintiffs’ breach of oral contract claim seeks
                                                        24    compensatory damages of “at least $207,168.75.” Id., ¶ 53.
                                                        25          12.    Therefore, the amount in controversy exceeds the sum of $75,000.00,
                                                        26    exclusive of costs and interests. As such, the amount in controversy requirement
                                                        27    set forth in 28 U.S.C. § 1332(a) has been satisfied.
                                                        28    ///

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                                                          1         IV.     THE OTHER REQUIREMENTS OF REMOVAL ARE MET.
                                                          2   A.    Removal Is Timely.
                                                          3         13.     Removal is timely because it is made within 30 days of Cynosure
                                                          4   having been served with the Summons and the Complaint on August 27, 2013. See
                                                          5   Summons directed to Cynosure, attached as part of Exhibit A; 28 U.S.C. §
                                                          6   1446(b)(3).
                                                          7   B.    Venue And Other Requirements Are Satisfied
                                                          8         14.     The Western Division of the United States District Court for the
                                                          9   Central District of California includes Los Angeles County, the county in which
                                                        10    the Action is now pending. 28 U.S.C. § 84. Thus, this Court is the proper venue
                                                        11    for the Action pursuant to 28 U.S.C. § 1441(a).
                                                        12          15.     As required by 28 U.S.C. § 1446(d), Cynosure is filing a written
                    633 West Fifth Street, 52nd Floor




                                                        13    Notice of Filing of Removal with the Clerk of the Los Angeles County Superior
                        Los Angeles, CA 90071
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                                                        14    Court. A Notice of Filing of Removal To Adverse Party, together with copies of
                                                        15    this Notice Of Removal and the Notice Of Filing Notice Of Removal, are being
                                                        16    served upon Plaintiffs’ counsel as required by 28 U.S.C. § 1446(d).
                                                        17          16.     Pursuant to 28 U.S.C. § 1446(a), copies of all process, pleadings, and
                                                        18    orders served upon Cynosure are attached collectively as Exhibit 1.
                                                        19    ///
                                                        20    ///
                                                        21    ///
                                                        22    ///
                                                        23    ///
                                                        24    ///
                                                        25    ///
                                                        26    ///
                                                        27    ///
                                                        28    ///

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                          EXHIBIT 1
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                                                                           CALIFORNIA
                                                                              CIVIL COVER SHEET


VIM. VENUE: Your answers to the questions below will determine the division of the Court to which this case will most likely be initially assigned. This initial assignment
is subject to change, in accordance with the Court's General Orders, upon review by the Court of your Complaint or Notice of Removal.

Question A: Was this case removed from                          STATE CASE WAS PENDING IN THE COUNTY OF:                                           INITIAL DIVISION IN CACD IS:
state court?
                   Yes         No                   Los Angeles                                                                                             Western

If "no," go to Question B. If "yes," check the      Ventura, Santa Barbara, or San Luis Obispo                                                              Western
box to the right that applies, enter the
corresponding division in response to               Orange                                                                                                  Southern
Question D, below, and skip to Section IX.
                                                    Riverside or San Bernardino                                                                              Eastern


Question B: Is the United States, or one of                 If the United States, or one of its agencies or employees, is a party, is it:
its agencies or employees, a party to this
action?                                                                                                                                                            INITIAL
                                                                 A PLAINTIFF?                                      A DEFENDANT?                                  DIVISION IN
                                                                                                                                                                  CACD IS:
                   Yes         No
                                                  Then check the box below for the county in          Then check the box below for the county in
                                                  which the majority of DEFENDANTS reside.             which the majority of PLAINTIFFS reside.

If "no," go to Question C. If "yes," check the      Los Angeles                                         Los Angeles                                                Western
box to the right that applies, enter the            Ventura, Santa Barbara, or San Luis                 Ventura, Santa Barbara, or San Luis
corresponding division in response to                                                                                                                              Western
                                                    Obispo                                              Obispo
Question D, below, and skip to Section IX.
                                                    Orange                                              Orange                                                     Southern

                                                    Riverside or San Bernardino                         Riverside or San Bernardino                                 Eastern

                                                    Other                                               Other                                                      Western


                                         A.                B.                                C.                         D.                              E.                       F.
     Question C: Location of        Los Angeles Ventura, Santa Barbara, or              Orange County            Riverside or San             Outside the Central               Other
plaintiffs, defendants, and claims?   County    San Luis Obispo Counties                                        Bernardino Counties           District of California

 Indicate the location in which a
 majority of plaintiffs reside:
 Indicate the location in which a
 majority of defendants reside:
 Indicate the location in which a
 majority of claims arose:



C.I. Is either of the following true? If so, check the one that applies:                  C.2. Is either of the following true? If so, check the one that applies:

          2 or more answers in Column C                                                              2 or more answers in Column D

          only 1 answer in Column C and no answers in Column D                                       only 1 answer in Column D and no answers in Column C


                    Your case will initially be assigned to the                                                 Your case will initially be assigned to the
                             SOUTHERN DIVISION.                                                                            EASTERN DIVISION.
               Enter "Southern" in response to Question D, below.                                           Enter "Eastern" in response to Question D, below.

                 If none applies, answer question C2 to the right.                                                 If none applies, go to the box below.


                                                                     Your case will initially be assigned to the
                                                                               WESTERN DIVISION.
                                                                 Enter "Western" in response to Question D below.




Question D: Initial Division?                                                                                             INITIAL DIVISION IN CACD

Enter the initial division determined by Question A, B, or C above:
                                                                                       Western




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